1. An award made upon review by all the directors of the State Board of Workmen's Compensation, under the Code, § 114-708, affirming an award by a single director upon issues of fact, is conclusive as to those issues, if there is any evidence to sustain it. Fralish v. Royal Indemnity Co., 53 Ga. App. 557
(186 S.E. 567); Merry Bros. Brick  Tile Co. v.  Holmes, 57 Ga. App. 281 (195 S.E. 223); Peninsular Life Insurance Co. v. Brand 57 Ga. App. 526 (196 S.E. 264);  Mutual Liability Insurance Co. v. Bond, 62 Ga. App. 562
(8 S.E.2d 715); American Mutual Liability Insurance Co.
v. Jenkins, 63 Ga. App. 777 (12 S.E.2d 80); Maryland Casualty Co. v. Sanders, 182 Ga. 594 (186 S.E. 693);  Webb v. General Accident Fire  Life Insurance Co., 72 Ga. App. 127 (33 S.E.2d 273).
2. There was evidence authorizing the award made by the full board, and the court did not err in sustaining the award and in dismissing the appeal.
Judgment affirmed. Sutton, P. J., and Felton, J.,concur.
                        DECIDED OCTOBER 4, 1945.